                                                           SO ORDERED.


                                                           Dated: July 24, 2018


   1   THE LAW OFFICE OF
   2
       KELLY G. BLACK, PLC
                                                           Eddward P. Ballinger Jr., Bankruptcy Judge
   3                                                       _________________________________

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   7
                          UNITED STATES BANKRUPTCY COURT
   8
                                   DISTRICT OF ARIZONA
   9
            The Carwasher, Inc.                         2:13-bk-13417-EPB
  10        Bajo Enterprises                        X   2:13-bk-13419-EPB
            Raymond Coy Lindblom                        2:14-bk-01011-EPB
  11        Kathleen Lindblom
  12

  13
       Bajo Enterprises                                          2:17-ap-00173-EPB

  14                                                    Order Authorizing Sale of Property
                                                        and Distribution of Proceeds
  15

  16
       Mark S. Willis Katherine G. Kirts     Kay
       Kirts Darrell Slade as Trustee of the
  17   Franklin Leo Willis Testamentary Trust
       Unknown beneficiaries and successor
  18
       trustees of the Franklin Leo Willis
  19   Testamentary Trust Elizabeth Carlson
       Jennifer L. Willis Stephen K. Willis
  20   Unknown heirs, executors, administrators,
  21
       devisees, trustees, successors and assigns
       of Shirell Dean Willis or Janyce K. Willis
  22       Unknown beneficiaries and successor
       trustees of the Trust Agreement of Shirell
  23
       D. Willis and Janyce K. Willis dated
  24   September 29, 1982

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Case 2:17-ap-00173-EPB    Doc 11 Filed 07/24/18 Entered 07/24/18 10:19:03             Desc
                           Main Document    Page 1 of 3
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Case 2:17-ap-00173-EPB   Doc 11 Filed 07/24/18 Entered 07/24/18 10:19:03   Desc
                          Main Document    Page 2 of 3
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       Order Approving Sale.docx
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Case 2:17-ap-00173-EPB             Doc 11 Filed 07/24/18 Entered 07/24/18 10:19:03   Desc
                                    Main Document    Page 3 of 3
